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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

F/VV\
CASE NO. 86-0873-Cr-DMI-S(s)(s)

UNITED STATES OF AMERICA
vs.
PAUL ACKLEY,

Defendant.
/

ORDER OF DISMISSAL
Pursuant to Rule 48(a) of the Federal Rules of Crirninal Procedure and by leave of Court

endorsed hereon, the United States Attorney for the Southern District of Florida hereby dismisses

Respectfully submitte)d%
M/L\AA-%A

JEFFREY H. SLOMAN
UNITED STATES ATTORNEY

the indictment against the above named defendant

Leave of Court is granted for the filing of the foregoing Dismissal.

DAE./%z/Q M:'/

FElYBjéo A MoRENo
UNITED s ATES DISTRICT CoURT JUDGE

cc: U.S. Attorney (Edward C. Nucci, AUSA - 0044.001)
U.S. Marshal (Deputy Joe Godsk)
Chief Probation Oft`lcer
Pretrial Services
DEA (SA Stu Hochfelder)
IRS (SA Tricia Tumer)

 

